USCA11 Case: 22-13135   Document: 26        Date Filed: 01/11/2023     Page: 1 of 66



                             No. 22-13135


           In the United States Court of
           Appeals for the Eleventh Circuit
                     HONEYFUND.COM, INC, et al.,

                                               Plaintiffs–Appellees,
                                       v.
               GOVERNOR, STATE OF FLORIDA, et al.,

                                            Defendants–Appellants.


                 BRIEF OF PLAINTIFFS-APPELLEES

                          ON APPEAL FROM THE
                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                         NO. 4:22-CV-227-MW-MAF



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USCA11 Case: 22-13135     Document: 26     Date Filed: 01/11/2023   Page: 2 of 66



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 USCA11 Case: 22-13135         Document: 26      Date Filed: 01/11/2023   Page: 3 of 66



                CERTIFICATE OF INTERESTED PERSONS AND
                  CORPORATE DISCLOSURE STATEMENT

         Plaintiffs-Appellees certify that the following is a complete list of interested

persons as required by Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rule 26.1:

   1.       Agarwal, Shalini G., Attorney for Plaintiffs-Appellees

   2.       Cepero, Monica, Commissioner of the Florida Commission on Human
            Relations, Defendant-Appellant

   3.       Chimene-Weiss, Sara, Attorney for Plaintiffs-Appellees

   4.       Cooper & Kirk, PLLC, Attorneys for Defendants-Appellants

   5.       Cooper, Charles J., Attorney for Defendants-Appellants

   6.       DeSantis, Ron, Governor of the State of Florida, Defendant-Appellant

   7.       Farmer, Libby, Commissioner of the Florida Commission on Human
            Relations, Defendant-Appellant

   8.       Florida Attorney General Service, Attorney for Defendant-Appellant
            Moody

   9.       Garza, Mario, Commissioner of the Florida Commission on Human
            Relations, Defendant-Appellant

   10.      Goodman, Rachel E., Attorney for Plaintiffs-Appellees

   11.      Hallward-Driemeier, Douglas, Attorney for Plaintiffs-Appellees

   12.      Hanson, Dawn, Commissioner of the Florida Commission on Human
            Relations, Defendant-Appellant

   13.      Hart, Larry, Commissioner of the Florida Commission on Human
            Relations, Defendant-Appellant

   14.      Honeyfund.com, Inc., Plaintiff-Appellee


                                             i
USCA11 Case: 22-13135     Document: 26      Date Filed: 01/11/2023   Page: 4 of 66



 15.   Langford, John T., Attorney for Plaintiffs-Appellees

 16.   Longo, Amy Jane, Attorney for Plaintiffs-Appellees

 17.   Margulis, Sara, Declarant

 18.   McBroom, Antonio, Declarant

 19.   McGhee, Darrick, Senior Chair of the Florida Commission on Human
       Relations, Defendant-Appellant

 20.   Moody, Ashley, Attorney General of the State of Florida, Defendant-
       Appellant

 21.   Moye, Kenyatta, Commissioner of the Florida Commission on Human
       Relations, Defendant-Appellant

 22.   Myrtetus, Vivian, Commissioner of the Florida Commission on Human
       Relations, Defendant-Appellant

 23.   Newhall, Timothy L., Attorney for Defendant-Appellant Moody

 24.   Office of the Attorney General of the State of Florida, Attorneys for
       Defendants-Appellants

 25.   Ohlendorf, John D., Attorney for Defendants-Appellants

 26.   Orrin, Chevara, Plaintiff-Appellee and Declarant

 27.   Payne, Pamela, Commissioner of the Florida Commission on Human
       Relations, Defendant-Appellant

 28.   Pichard, Jay, Commissioner of the Florida Commission on Human
       Relations, Defendant-Appellant

 29.   Primiano, Angela, Vice Chair and Commissioner of the Florida
       Commission on Human Relations, Defendant-Appellant

 30.   Primo Partners III LLC, Parent Company of Plaintiff-Appellee Primo
       Tampa LLC

 31.   Primo Partners LLC, Parent Company of Primo Partners III LLC

 32.   Primo Tampa LLC, Plaintiff-Appellee

                                       ii
 USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 5 of 66



   33.      Protect Democracy, Attorneys for Plaintiffs-Appellees

   34.      Ramer, John D., Attorney for Defendants-Appellants

   35.      Ropes & Gray, LLP, Attorneys for Plaintiffs-Appellees

   36.      Whitespace Consulting LLC d/b/a Collective Concepts LLC, Plaintiff-
            Appellee

   37.      Wold, Megan M., Attorney for Defendants-Appellants

         Plaintiff-Appellee Primo Tampa LLC is a subsidiary of Primo Partners III

LLC, which is a subsidiary of Primo Partners LLC. No publicly traded company or

corporation has an interest in the outcome of this case or appeal.


                                           /s/ Shalini Goel Agarwal
                                           Shalini Goel Agarwal

                                           Counsel for Plaintiffs-Appellees




                                          iii
USCA11 Case: 22-13135    Document: 26      Date Filed: 01/11/2023   Page: 6 of 66



           STATEMENT REGARDING ORAL ARGUMENT

    Plaintiffs do not oppose Defendants’ request for oral argument.




                                      iv
 USCA11 Case: 22-13135                  Document: 26            Date Filed: 01/11/2023              Page: 7 of 66



                                        TABLE OF CONTENTS

STATEMENT OF THE ISSUES...............................................................................1

INTRODUCTION .....................................................................................................2

STATEMENT OF THE CASE ..................................................................................3

         I.       LEGISLATIVE HISTORY ...................................................................3

         II.      THE DISTRICT COURT’S FACTUAL FINDINGS ...........................8

         III.     THE DISTRICT COURT’S LEGAL CONCLUSIONS .......................9

STANDARD OF REVIEW .....................................................................................11

SUMMARY OF THE ARGUMENT ......................................................................12

ARGUMENT ...........................................................................................................15

         I.       THE DISTRICT COURT DID NOT ABUSE ITS
                  DISCRETION IN GRANTING PLAINTIFFS’ MOTION FOR
                  PRELIMINARY INJUNCTION. ........................................................15

                  A.       The District Court Did Not Abuse Its Discretion in
                           Holding That Plaintiffs Are Likely to Succeed on the
                           Merits of Their First Amendment Claim ..................................15

                           1.       The Stop WOKE Act Regulates Speech, Not
                                    Conduct. ..........................................................................17

                           2.       Defendants’ “Threshold Inquiry” Argument Lacks
                                    Support in the Relevant Case Law. ................................23

                           3.       Even if the Act is Found to Regulate Conduct, the
                                    “Conduct” Triggering Coverage Consists of
                                    Communicating a Message and Therefore Strict
                                    Scrutiny Applies. ............................................................25

                           4.       The Stop WOKE Act Discriminates Based Upon
                                    Viewpoint and Is Therefore Presumptively
                                    Unconstitutional..............................................................27



                                                          v
 USCA11 Case: 22-13135                   Document: 26          Date Filed: 01/11/2023             Page: 8 of 66



                           5.       Even if Not Per Se Unconstitutional, the Act Fails
                                    Strict Scrutiny, Because Its Content Restrictions
                                    Are Not Narrowly Tailored to Serve Any
                                    Compelling State Interest. ..............................................29

                                    a)       Captive Audience .................................................30

                                    b)       Invidious Discrimination ......................................31

                  B.       The District Court Did Not Abuse Its Discretion in
                           Holding That Plaintiffs Are Likely to Succeed on the
                           Merits of Their Fourteenth Amendment Claim ........................38

                           1.       The Stop WOKE Act Is Unconstitutionally Vague........38

                           2.       In the Alternative, the Stop WOKE Act Is
                                    Overbroad. ......................................................................46

                  C.       The Act’s Provisions Cannot Be Severed .................................47

                  D.       The District Court Did Not Abuse Its Discretion in
                           Holding That the Remaining Preliminary Injunction
                           Factors Weigh in Plaintiffs’ Favor............................................49

CONCLUSION ........................................................................................................51




                                                         vi
 USCA11 Case: 22-13135                  Document: 26           Date Filed: 01/11/2023             Page: 9 of 66



                                       TABLE OF CITATIONS

Cases

Ashcroft v. ACLU,
   542 U.S. 656 (2004) ............................................................................................ 12

Calvary Chapel Dayton Valley v. Sisolak,
  140 S. Ct. 2603 (2020) ........................................................................................ 27

Carey v. Brown,
  447 U.S. 455 (1980) ................................................................................24, 25, 38

City of Austin v. Reagan Nat’l Advert of Austin, LLC,
   142 S. Ct. 1464 (2022) ..................................................................................25, 29

Cohen v. California,
  403 U.S. 15 (1971) ..................................................................................19, 25, 31

Expressions Hair Designs v. Schneiderman,
  581 U.S. 37 (2017) .............................................................................................. 40

Faragher v. City of Boca Raton,
  524 U.S. 775 (1998) ............................................................................................ 35

Frisby v. Schultz,
   487 U.S. 474 (1988) ............................................................................................ 38

Gentile v. State Bar of Nev.,
  501 U.S. 1030 (1991) .......................................................................................... 44

Gordon v. Holder,
  721 F.3d 638 (D.C. Cir. 2013), overruled on other grounds by
  South Dakota v. Wayfair, Inc., 138 S. Ct. 2080 (2018) ................................12, 26

Harris v. Forklift Sys., Inc.,
  510 U.S. 17 (1993) ............................................................................34, 35, 36, 37

Heyman v. Cooper,
  31 F.4th 1315 (11th Cir. 2022) ...............................................................40, 41, 42

High Ol’ Times, Inc. v. Busbee,
   673 F.2d 1225 (11th Cir. 1982) .......................................................................... 41

                                                         vii
 USCA11 Case: 22-13135                 Document: 26             Date Filed: 01/11/2023            Page: 10 of 66



Hill v. Colorado,
   530 U.S. 703 (2000) ................................................................................17, 23, 24

Hishon v. King & Spalding,
   467 U.S. 69 (1984) .............................................................................................. 34

Holder v. Humanitarian Law Project,
  561 U.S. 1 (2010) ..........................................................................................25, 26

MidAmerica C2L Inc. v. Siemens Energy Inc.,
  25 F.4th 1312 (11th Cir. 2022) ........................................................................... 46

Minn. Voters All. v. Mansky,
  138 S. Ct. 1876 (2018) ............................................................................24, 28, 51

Norwegian Cruise Line Holdings Ltd. v. State Surgeon Gen.,
  50 F.4th 1126 (11th Cir. 2022) ..................................................................... 12, 21

Oncale v. Sundowner Offshore Servs., Inc.,
  523 U.S. 75 (1998) .............................................................................................. 35

Otto v. City of Boca Raton,
   981 F.3d 854 (11th Cir. 2020) .....................................................................passim

Pleasant Grove City v. Summum,
   555 U.S. 460 (2009) ............................................................................................ 28

R.A.V. v. City of St. Paul,
   505 U.S. 377 (1992) ............................................................................................ 36

Red Earth LLC v. United States,
  657 F.3d 138 (2d Cir. 2011) (per curiam) .......................................................... 12

Reed v. Town of Gilbert,
   576 U.S. 155 (2015) ......................................................................................29, 38

Reeves v. C.H. Robinson Worldwide, Inc.,
   594 F.3d 798 (11th Cir. 2010) ............................................................................ 35

Reno v. ACLU,
  521 U.S. 844 (1997) ............................................................................................ 39



                                                         viii
 USCA11 Case: 22-13135                 Document: 26           Date Filed: 01/11/2023             Page: 11 of 66



Rumsfeld v. FAIR,
  547 U.S. 47 (2006) .......................................................................................passim

Santa Cruz Lesbian & Gay Community Ctr. v. Trump,
   508 F. Supp. 3d 521 (N.D. Cal. 2020) ................................................................ 45

Siegel v. LePore,
   234 F.3d 1163 (11th Cir. 2000) (en banc) ..............................................11, 12, 49

Snyder v. Phelps,
   562 U.S. 443 (2011) .....................................................................................passim

Sorrell v. IMS Health Inc.,
   564 U.S. 552 (2011) ............................................................................................ 27

State v. Catalano,
   104 So. 3d 1069 (Fla. 2012) ............................................................................... 48

Texas v. Johnson,
   491 U.S. 397 (1989) ................................................................................36, 37, 51

Tonkyro v. Sec’y, Dep’t of Veterans Affs.,
  995 F.3d 828 (11th Cir. 2021) ............................................................................ 35

Tracy v. FAU Bd. of Trs.,
   980 F.3d 799 (11th Cir. 2020) ............................................................................ 41

Univ. of Texas v. Camenisch,
  451 U.S. 390 (1981) ............................................................................................ 11

Village of Hoffman Ests. v. Flipside, Hoffman Est., Inc.,
   455 U.S. 489 (1982) ......................................................................................39, 40

Virginia v. Hicks,
   539 U.S. 113 (2003) ............................................................................................ 46

W. Va. State Bd. of Educ. v. Barnette,
   319 U.S. 624 (1943) ........................................................................................2, 38

Wisconsin v. Mitchell,
  508 U.S. 476 (1993) ............................................................................................ 34



                                                         ix
 USCA11 Case: 22-13135                  Document: 26            Date Filed: 01/11/2023             Page: 12 of 66



Wollschlaeger v. Governor, Fla.,
  848 F.3d 1293 (11th Cir. 2017) (en banc) ........................................22, 30, 33, 39

Constitutional and Statutory Provisions

42 U.S.C. § 2000e-2(a)(1)........................................................................................ 34

Fla. Stat. § 760.10(2)................................................................................................ 34

Fla. Stat. § 760.10(8).........................................................................................passim

U.S. Const. amend. I .........................................................................................passim

U.S. Const. amend. XIV ............................................................................1, 3, 14, 38




                                                           x
USCA11 Case: 22-13135        Document: 26     Date Filed: 01/11/2023   Page: 13 of 66



                         STATEMENT OF THE ISSUES

      1.     The district court held that the Stop WOKE Act is a “naked viewpoint-

based regulation on speech that does not pass strict scrutiny” under the First

Amendment, Op. at 2, and is “impermissibly vague in violation of the Due Process

Clause of the Fourteenth Amendment,” id. at 37. The district court further held that

the “remaining preliminary injunction factors . . . weigh in favor of granting

Plaintiffs’ motion for preliminary injunction.” Id. at 39. Given the heightened

deference to lower courts’ rulings on motions for preliminary injunction involving a

close constitutional question, the question presented on appeal is whether the district

court abused its discretion in granting Plaintiffs’ motion here.




                                          1
USCA11 Case: 22-13135        Document: 26     Date Filed: 01/11/2023   Page: 14 of 66



                                 INTRODUCTION

      The First Amendment states that “Congress shall make no law . . . abridging

the freedom of speech.” As Justice Jackson wrote, “If there is any fixed star in our

constitutional constellation, it is that no official, high or petty, can prescribe what

shall be orthodox in politics, nationalism, religion, or other matters of opinion.” W.

Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943). That the government

cannot silence speech based on its content or viewpoint, regardless of who dislikes

that speech or why, is the First Amendment’s most fundamental premise. Nor does

the First Amendment tolerate vague laws that cast a shadow over protected speech;

there must be precision of regulation to avoid unnecessarily chilling protected

speech.

      Florida’s House Bill 7, titled the “Individual Freedom Act” and referred to as

the “Stop WOKE Act” (or “Act”), violates these core principles by doing exactly

what its name declares and preventing employers from advancing “woke”

concepts—a far cry from Defendants’ caricature that the law protects employees

from invidious discrimination. The Act violates the First Amendment on its face by

banning and imposing liability for “espous[ing], promot[ing], advanc[ing],

inculcat[ing], or compel[ling belief in]” eight prohibited “concepts.” Fla. Stat. §

760.10(8)(a) (2022). Moreover, the Act is so vague and overbroad that it is

impossible for employers to know how to comply, further chilling their speech. The


                                          2
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 15 of 66



district court agreed with Plaintiffs that the Act is a “naked viewpoint-based

regulation on speech that does not pass strict scrutiny” under the First Amendment,

Op. at 2, and that it is “impermissibly vague in violation of the Due Process Clause

of the Fourteenth Amendment.” Id. at 37. In their appeal, Defendants identify no

error or abuse of discretion in the district court’s reasoning.

      Because the State of Florida is not an autocracy, but rather governed by the

United States Constitution, the Stop WOKE Act cannot stand.1

                          STATEMENT OF THE CASE

I.    LEGISLATIVE HISTORY

      House Bill 7 was enacted at the urging of Governor Ron DeSantis, who

originally dubbed the law the “Stop the Wrongs to Our Kids and Employees” or

“Stop W.O.K.E. Act.” He characterized the legislation as a way “to fight back

against woke indoctrination” and “take on . . . corporate wokeness.”2 The term

“woke” was initially slang describing awareness of important social issues like racial

justice,3 but in recent years has been co-opted by opponents in Florida and elsewhere


1
  While the district court granted the motion for preliminary injunction as to all
defendants except Governor DeSantis, see Op. at 15, the Governor has joined in this
appeal. See Notice of Appeal.
2
   Press Release, Fla. Off. of the Governor, Governor DeSantis Announces
Legislative Proposal to Stop W.O.K.E. Activism and Critical Race Theory in Schools
and Corporations (Dec. 15, 2021), https://www.flgov.com/2021/12/15/governor-
desantis-announces-legislative-proposal-to-stop-w-o-k-e-activism-and-critical-
race-theory-in-schools-and-corporations/.
3
  “Woke,” MERRIAM-WEBSTER, https://www.m-w.com/dictionary/woke.
                                           3
USCA11 Case: 22-13135        Document: 26     Date Filed: 01/11/2023   Page: 16 of 66



to belittle the viewpoint that such awareness is desirable. In announcing the

legislation, the Governor derisively characterized workplace diversity, equity, and

inclusion (“DEI”) trainings designed to counteract and sensitize workers to the

ongoing effects of centuries of systemic racism, sexism, and homophobia in this

country as creating “a hostile work environment” by “attacking people based on their

race or telling them that they’re privileged or that they’re part of oppressive

systems.”4   He characterized DEI trainings as “basically corporate sanctioned

racism” that employers are “trying to shove . . . down these employees’ throats.”5

      Advocating for the Stop WOKE Act in the Florida Legislature, its sponsors

underscored its content- and viewpoint-based nature. For example, House sponsor

Bryan Avila castigated particular texts with which he disagreed, including Peggy

McIntosh’s White Privilege: Unpacking the Invisible Knapsack and Robin

DiAngelo’s White Fragility: Why It’s So Hard for White People to Talk About

Racism.6 When asked whether assigning the White Privilege text would be lawful,

Representative Avila responded that “if that material in any way, shape, or form,

does not align with the principles in this bill, then that material would certainly not



4
   Governor Ron DeSantis, Introducing the Stop W.O.K.E. Act, at 17:55-18:18,
FACEBOOK (Dec. 15, 2021), https://www.facebook.com/GovRonDeSantis/videos/
introducing-the-stop-woke-act/877277022969704/.
5
  Id. at 18:18-18:30.
6
   Fla. H.R., Recording of Proceedings, at 1:04:49-1:05:40 (Feb. 22, 2022),
https://www.myfloridahouse.gov/VideoPlayer.aspx?eventID=7959.
                                          4
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 17 of 66



be permissible.”7     He earlier described White Privilege as “absolutely un-

American.”8 And when Senate sponsor Manny Diaz was asked if a company would

be prohibited from using the words “white privilege” in a DEI training, he responded

that “I would say that there are some very specific topics listed including not

imposing privilege or oppression on any particular individual based on race.”9

      The sponsors also emphasized the need for any discussion of prohibited

concepts to be “objective.” As Representative Avila described it:

             Whether . . . it’s an HR professional in the workplace,
             everything that is taught should be from an objective
             standpoint, right? We’re not saying that you can’t teach
             those historical facts. . . . [T]hat is unquestionably what
             should be taking place, but the manner in which it’s done,
             it needs to be done in an objective manner. . . . [When
             teaching government class] I don’t inject my personal
             beliefs on public policy . . . because everything is done
             from an objective manner.10

Similarly, Senator Diaz explained that in the context of the Stop WOKE Act,

“objective in this case, specifically states the not-imposing responsibility or guilt to




7
  Id. at 1:38:15-1:39:06.
8
  Fla. H.R., House Educ. & Emp. Comm., Recording of Proceedings, at 00:33:20-
00:33:55, 00:50:40-00:50:45 (Feb. 8, 2022), https://www.myfloridahouse.gov/
VideoPlayer.aspx?eventID=7878.
9
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https://www.myfloridahouse.gov/VideoPlayer.aspx?eventID=8067.
10
    Fla. H.R., Recording of Proceedings, at 1:10:12-1:11:20 (Feb. 22, 2022),
https://www.myfloridahouse.gov/VideoPlayer.aspx?eventID=7959.
                                           5
USCA11 Case: 22-13135         Document: 26      Date Filed: 01/11/2023   Page: 18 of 66



a person based on the group they belong to for the actions of others.”11

        Upon signing the Stop WOKE Act, Governor DeSantis hailed it as a step

towards protecting against “the far-left woke agenda tak[ing] over [Florida’s]

schools and workplaces.”12

        The Stop WOKE Act modifies the Florida Civil Rights Act’s definition of

“unlawful employment practices” and “race discrimination” to include “subjecting

an individual, as a condition of employment” to “training, instruction, or any other

required activity” that “espouses, promotes, advances, inculcates, or compels such

individual to believe” any of the following eight prohibited “concepts” that touch

upon “race, color, sex, or national origin”:

     1. Members of one race, color, sex, or national origin are morally superior to
        members of another race, color, sex, or national origin.

     2. An individual, by virtue of his or her race, color, sex, or national origin, is
        inherently racist, sexist, or oppressive, whether consciously or unconsciously.

     3. An individual’s moral character or status as either privileged or oppressed is
        necessarily determined by his or her race, color, sex, or national origin.

     4. Members of one race, color, sex, or national origin cannot and should not
        attempt to treat others without respect to race, color, sex, or national origin.



11
   Fla. S., Recording of Proceedings, at 6:13:30-6:13:53 (Mar. 9, 2022), https://
www.myfloridahouse.gov/VideoPlayer.aspx?eventID=8067.
12
   Press Release, Fla. Off. of the Governor, Governor DeSantis Signs Legislation to
Protect Floridians from Discrimination and Woke Indoctrination (Apr. 22, 2022),
https://www.flgov.com/2022/04/22/governor-ron-desantis-signs.legislation-to-
protect-floridians-from-discrimination-and-woke-indoctrination/.
                                            6
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023    Page: 19 of 66



   5. An individual, by virtue of his or her race, color, sex, or national origin, bears
      responsibility for, or should be discriminated against or receive adverse
      treatment because of, actions committed in the past by other members of the
      same race, color, sex, or national origin.

   6. An individual, by virtue of his or her race, color, sex, or national origin, should
      be discriminated against or receive adverse treatment to achieve diversity,
      equity, or inclusion.

   7. An individual, by virtue of his or her race, color, sex, or national origin, bears
      personal responsibility for and must feel guilt, anguish, or other forms of
      psychological distress because of actions, in which the individual played no
      part, committed in the past by other members of the same race, color, sex, or
      national origin.

   8. Such virtues as merit, excellence, hard work, fairness, neutrality, objectivity,
      and racial colorblindness are racist or sexist, or were created by members of a
      particular race, color, sex, or national origin to oppress members of another
      race, color, sex, or national origin.

Fla. Stat. § 760.10(8)(a) (2022).

      The Stop WOKE Act further provides that its eight restrictions “may not be

construed to prohibit discussion of the concepts listed therein as part of a course of

training or instruction, provided such training or instruction is given in an objective

manner without endorsement of the concepts.” Fla. Stat. § 760.10(8)(b) (2022). The

viewpoint-based nature of the law could not be any clearer: employers may offer

training that disagrees with these concepts, but any training endorsing the concepts

(i.e., advancing “wokeness”) is banned.




                                           7
USCA11 Case: 22-13135       Document: 26      Date Filed: 01/11/2023   Page: 20 of 66



II.   THE DISTRICT COURT’S FACTUAL FINDINGS

      The district court found that Plaintiffs’ declarations demonstrated clear injury

from the Stop WOKE Act. Defendants submitted no contrary evidence. Thus, the

uncontested findings below include the following: Honeyfund, a honeymoon

registry company based in Clearwater, Florida, and Primo, a Ben & Jerry’s

franchisee with shops in Clearwater Beach and Tampa, Florida, had each conducted

or planned to conduct mandatory DEI trainings for employees or otherwise advance

some prohibited concepts at required activities—all of which they put on hold for

fear of violating the Stop WOKE Act. See Op. at 7-8.

      Plaintiffs’ planned DEI activities would violate each of the prohibited

concepts. The topics in Honeyfund’s planned trainings included advancing women

in business, understanding gender expansiveness, understanding institutional

racism, and preventing harassment. See Op. at 8. Terms and concepts in Primo’s

trainings included “dominant group,” “racial bias,” “white man’s privilege,” “white

man’s guilt,” systemic racism, oppression, and intersectionality.         Id.    Both

companies planned to change or limit these activities or make them voluntary to

steer clear of the statute. See id. at 8-9. Likewise, Chevara Orrin, a DEI expert, and

her consulting company, Collective Concepts, provide trainings to employees on

topics including historical and structural racism, unconscious bias, and diversity and

inclusion. See id. at 10-11. Because of the Act, Orrin has been asked by clients to


                                          8
USCA11 Case: 22-13135          Document: 26   Date Filed: 01/11/2023   Page: 21 of 66



change the language of some trainings; other clients have stalled on moving forward

with contracts; and others who had earlier expressed interest would no longer pursue

DEI training. See id. at 11.

III.   THE DISTRICT COURT’S LEGAL CONCLUSIONS

       The district court found that Plaintiffs had shown a substantial likelihood of

success on the merits.

       As to the First Amendment claim, the court held that the Act regulates speech,

not conduct, as it bans mandatory trainings and other required activities—including

phone calls, assignments, discussions, or the like—in which an employer endorses

the prohibited concepts. See Op. at 17. As the court recognized, the Act “grants

employers free rein to hold mandatory trainings addressing any of the eight concepts

so long as those trainings condemn or take no position on the concepts,” and “the

only way to determine whether the [Act] bars a mandatory activity is to look to the

viewpoint expressed at that activity.” Id. The district court noted this Court’s

instruction that “where ‘the only conduct which the State [seeks] to punish [is] the

fact of communication,’ the statute regulates speech, not conduct.” Id. at 19 (quoting

Otto v. City of Boca Raton, 981 F.3d 854, 866 (11th Cir. 2020)).

       Accordingly, the court held that the Act is a viewpoint-based speech

restriction, triggering strict scrutiny. See Op. at 23. The court concluded that the

State’s “interest in preventing employers from ‘foisting speech that the State finds


                                          9
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 22 of 66



repugnant on a “captive audience” of employees’” is not compelling, and that even

assuming the interest were compelling, the Act is not narrowly tailored to achieve

its aim, as existing antidiscrimination laws already prohibit the strawman erected by

Defendants—DEI trainings so offensive that they create a hostile work environment.

Id. at 25-26. The district court rejected Defendants’ attempt to otherwise equate the

Stop WOKE Act with Title VII. It concluded that the statutes are “inverse” with

respect to speech because Title VII, on its face, “does not regulate speech,” but rather

“targets conduct” in prohibiting employment discrimination and “only incidentally

burdens speech”; the Stop WOKE Act, by contrast, directly regulates speech and

only incidentally burdens conduct. Id. at 23-24.

      As to the Due Process claim, the district court held that some of the prohibited

concepts “certainly are” vague, as is evident when trying to apply them to commonly

addressed workplace topics. Op. at 31. The court provided examples that showcase

the law’s vagueness, including an employer conducting mandatory sexual

harassment training that “cites statistics that women are the most common victims

of workplace sexual harassment and only provides examples of men sexually

harassing women,” and rhetorically asked “have they ‘advanced’ the belief that

women are morally superior to men?” Id. at 32. Likewise, given the prohibited

concept that individuals cannot and should not attempt to treat others with respect to

race, color, sex, or national origin, the court asked, “Can employers acknowledge


                                          10
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 23 of 66



their employees’ differing cultural backgrounds?” Id. at 33. The court concluded

that the statute as a whole is vague because the provision allowing “discussion in an

objective manner without endorsement of the concepts” lacks clear standards and

invites arbitrary and discriminatory enforcement. See id. at 37.

      The court further concluded that the remaining preliminary injunction factors

were intertwined with the merits and weighed in favor of Plaintiffs. Id. at 39.

                            STANDARD OF REVIEW

      “The purpose of a preliminary injunction is merely to preserve the relative

positions of the parties until a trial on the merits can be held.” Univ. of Texas v.

Camenisch, 451 U.S. 390, 395 (1981). To obtain injunctive relief, the moving party

must show that “(1) it has a substantial likelihood of success on the merits; (2)

irreparable injury will be suffered unless the injunction issues; (3) the threatened

injury to the movant outweighs whatever damage the proposed injunction may cause

the opposing party; and (4) if issued, the injunction would not be adverse to the

public interest.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc).

Because Plaintiffs overwhelmingly met that burden, the district court preliminarily

enjoined the Act, which it recognized as a “naked viewpoint-based regulation on

speech that does not pass strict scrutiny.” Op. at 2.

      A grant of a preliminary injunction is reviewed under an abuse of discretion

standard, with conclusions of law reviewed de novo and findings of fact reviewed


                                          11
USCA11 Case: 22-13135        Document: 26       Date Filed: 01/11/2023   Page: 24 of 66



for clear error. See Norwegian Cruise Line Holdings Ltd. v. State Surgeon Gen., 50

F.4th 1126, 1134 (11th Cir. 2022) (citation omitted). This Court has described such

review as “highly deferential” and “extremely narrow in scope.” Siegel, 234 F.3d at

1178 (citation omitted).

      Moreover, the Supreme Court has held that this deference is heightened when

constitutional rights are at stake, writing, “[i]f the underlying constitutional question

is close . . . we should uphold the injunction and remand for trial on the merits.”

Ashcroft v. ACLU, 542 U.S. 656, 664-65 (2004); see also Red Earth LLC v. United

States, 657 F.3d 138, 145 (2d Cir. 2011) (per curiam) (“Because the district court

reached a reasonable conclusion on a close question of [constitutional] law, there is

no need for us to decide the merits at this preliminary stage.”). At this stage,

appellate courts “must refrain from resolving novel and difficult constitutional

questions” and instead “leav[e] them to be settled at a later stage, with the benefit of

further factual and legal development.” Gordon v. Holder, 721 F.3d 638, 644 (D.C.

Cir. 2013), overruled on other grounds by South Dakota v. Wayfair, Inc., 138 S. Ct.

2080, 2099 (2018). Defendants can hardly dispute that their arguments at best

present close constitutional questions.

                       SUMMARY OF THE ARGUMENT

      The district court did not err in holding that Plaintiffs are likely to succeed on

their First Amendment claim; nor did it abuse its discretion in granting Plaintiffs’


                                           12
USCA11 Case: 22-13135        Document: 26       Date Filed: 01/11/2023   Page: 25 of 66



motion for preliminary injunction. The Stop WOKE Act is textbook viewpoint

discrimination. The Act enumerates eight concepts and prohibits employers from

endorsing them, while permitting speech that criticizes those concepts. Defendants’

pretense that the law targets conduct rather than speech is demonstrably incorrect: a

mandatory workplace training (or any other “required activity”) proclaiming that

implicit biases are a “woke” figment of imagination is permissible, whereas a

mandatory training asking people to examine their own implicit biases that lead them

to treat others inequitably would violate the statute. Even assuming Defendants’

erroneous premise that an employer mandating DEI training engages in conduct

rather than speech, such conduct still communicates a message: that the employer

prioritizes diversity, equity, and inclusion. As such, strict scrutiny would still apply.

      At a minimum, the Stop WOKE Act is a content-based regulation that fails

strict scrutiny because it is not narrowly tailored to serve a compelling governmental

interest. The interests proffered by Defendants—protecting a “captive audience” of

employees from being forced to listen to unwanted speech and protecting the

workplace from invidious discrimination—are inapposite.            Under this Court’s

precedent, the captive audience doctrine does not apply to workplace meetings. And

if the Act does encompass, in certain extreme examples, properly proscribable

invidious discrimination in the workplace, it is exceptionally poorly tailored to that

purpose; it would also outlaw a wide swath of core protected speech, including DEI


                                           13
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 26 of 66



trainings designed to prevent workplace discrimination. Defendants’ attempt to

equate the Stop WOKE Act with Title VII hostile work environment claims fails.

The Stop WOKE Act on its face targets speech, without any requirement of impact

on the listener, whereas Title VII prohibits adverse employment actions and reaches

speech only where that speech is so egregious as to constitute such an action.

      Nor did the district court abuse its discretion in holding that Plaintiffs are

likely to succeed on their Fourteenth Amendment claim that the Stop WOKE Act is

void for vagueness. As demonstrated below, each prohibited concept has uncertain

application to common workplace initiatives and training methods. More generally,

the hazy line between “endorsement” and “objective discussion” fails to provide

adequate warning to employers of what speech will subject them to liability.

      Alternatively, the Stop WOKE Act is unconstitutionally overbroad because it

prohibits a substantial amount of protected speech—advocacy of ideas the State

disagrees with—in relation to any legitimate sweep of the law.

      In addition, the district court correctly concluded that the law cannot be

severed, as each concept is unconstitutionally vague, the attempted safe harbor

allowing objective discussion without endorsement is also vague, and the law’s

sponsors were clear that the objectivity provision was a critical provision of the law.

      Finally, the remaining preliminary injunction requirements weigh in favor of

Plaintiffs, as irreparable injury is presumed when speech is chilled, and Defendants


                                          14
USCA11 Case: 22-13135       Document: 26      Date Filed: 01/11/2023   Page: 27 of 66



have no legitimate interest in enforcing an unconstitutional law.          Plaintiffs,

meanwhile, have a substantial interest in engaging in speech that forms a core part

of their businesses.

                                  ARGUMENT

I.    THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION IN
      GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY
      INJUNCTION.

      A.     The District Court Did Not Abuse Its Discretion in Holding That
             Plaintiffs Are Likely to Succeed on the Merits of Their First
             Amendment Claim.

      The district court correctly held that the Stop WOKE Act is a “naked

viewpoint-based regulation on speech,” Op. at 2—a fact evident on the statute’s face.

The statute lists eight prohibited “concepts” that an employer cannot “espouse[],

promote[], advance[], inculcate[], or compel[] [an] individual to believe” at a

mandatory training or other required activity. To further confirm the viewpoint

discriminatory nature of the Act, the law selectively allows and does not “prohibit

discussion of the concepts,” provided the “instruction is given in an objective

manner without endorsement of the concepts.” Fla. Stat. § 760.10(8)(b) (2022)

(emphasis added). This type of viewpoint discrimination is presumptively (and

perhaps even per se) unconstitutional under the First Amendment. Even if it were

not viewpoint-discriminatory, the Stop WOKE Act’s provisions would still clearly

be content-based and not narrowly tailored to achieving a compelling state interest.



                                         15
USCA11 Case: 22-13135         Document: 26      Date Filed: 01/11/2023    Page: 28 of 66



      Defendants’ counterarguments are woefully deficient. Because the statute

only forbids certain speech at mandatory trainings or “other required employment

activities,” Br. at 13, Defendants argue that the Stop WOKE Act regulates conduct

rather than speech, but this Court has expressly and definitively rejected such

attempts at manipulating the speech/conduct distinction. Defendants fail to explain

how the Act regulates conduct “separately identifiable” from speech; indeed, it is

impossible to apply the Act’s restrictions without reference to the underlying speech

that the Act explicitly targets. The Act does not prohibit any kind of mandatory or

required activity, unless that required activity addresses a forbidden “concept,” and

only then if the employer demonstrates “endorsement of the concepts.” Fla. Stat. §

760.10(8)(b) (2022).      An employer may with impunity require, on pain of

termination, that employees attend mandatory sessions lambasting “WOKE”

concepts like “structural racism,” “White privilege,” or “restorative justice.” As

long as the employer espouses the State’s party-line, she is fine. It is only if the

employer strays from that message during these required activities that she is subject

to punishment. This is the stuff of autocrats and totalitarian regimes; it is antithetical

to the most fundamental values of a democracy, as enshrined in the First

Amendment.

      None of the cases Defendants cite suggests a different result. Defendants’

argument that “a threshold inquiry into the content of speech is not itself a regulation


                                           16
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 29 of 66



of speech,” Br. at 13, finds no support in the law. The principal case they cite, Hill

v. Colorado, 530 U.S. 703 (2000), actually contradicts their position—unlike here,

there was no need in Hill to examine the exact words spoken to ascertain whether a

violation occurred. Defendants’ reliance on Rumsfeld v. FAIR, 547 U.S. 47 (2006),

is likewise misplaced. In FAIR, the mandated conduct—making space available in

a non-discriminatory manner—neither itself involved communication nor

constrained the schools’ right to communicate their message. It is thus inapposite

here, where the supposed “conduct triggering coverage under the statute”—requiring

employees to listen to the employer’s message—itself “consists of communicating

a message,” i.e., that the “concepts” advanced are important to the employer. None

of Defendants’ arguments overcome the Act’s facial unconstitutionality as a

viewpoint-based and content-based regulation on speech, and the district court did

not abuse its discretion in so holding.

             1.     The Stop WOKE Act Regulates Speech, Not Conduct.

      The Act squarely regulates “speech” within the meaning of the First

Amendment by limiting the ability of certain speakers—including private employers

like Honeyfund and Primo, and DEI trainers like Ms. Orrin—to discuss eight

prohibited concepts. Its central inquiry (indeed, its only inquiry) is whether a

mandatory training “or any other required activity” “espouses, promotes, advances,

inculcates, or compels [an] individual to believe” any of the eight prohibited


                                          17
USCA11 Case: 22-13135       Document: 26      Date Filed: 01/11/2023   Page: 30 of 66



concepts. Fla. Stat. § 760.10(8)(a) (2022). The only way one can “espouse[],

promote[], advance[], inculcate[], or compel[] [an] individual to believe” such a

concept is through speech or expression, and Defendants do not contend otherwise.

As this Court has cautioned, “If speaking to clients is not speech, the world is truly

upside down . . . ‘Saying that restrictions on writing and speaking are merely

incidental to speech is like saying that limitations on walking and running are merely

incidental to ambulation.’” Otto, 981 F.3d at 866 (quoting Wollschlaeger v.

Governor, Fla., 848 F.3d 1293, 1308 (11th Cir. 2017) (en banc)).

      Defendants insist nonetheless that a restriction on speaking is merely

incidental to speech, arguing that the Stop WOKE Act “regulates nonspeech

conduct: an employer’s action of mandating attendance at certain training sessions

or other required employment activities and sanctioning employees who disobey.”

Br. at 13. This Court “has already rejected the practice of relabeling controversial

speech as conduct,” Otto, 981 F.3d at 861; in so doing, the Court “laid down an

important marker: ‘the enterprise of labeling certain verbal or written

communications ‘speech’ and others ‘conduct’ is unprincipled and susceptible to

manipulation.’” Id. (quoting Wollschlaeger, 848 F.3d at 1308). Defendants’ brief is

rife with such manipulation. Id.

      As the district court correctly noted, the Stop WOKE Act’s restrictions

“cannot be understood without reference to the underlying speech’s content,” Op. at


                                         18
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 31 of 66



20, and “the only conduct which the State [seeks] to punish [is] the fact of

communication,” id. at 19 (quoting Otto, 981 F.3d at 866). Violations of the Act do

not arise from any conduct that is “separately identifiable” from speech. Cohen v.

California, 403 U.S. 15, 18 (1971) (emphasis added). “[I]n Cohen, the problem was

not that the defendant wore a jacket to court (conduct), but that the jacket said, ‘F***

the Draft’ on it (speech).” Op. at 19. Similarly, it is not a violation of the Act for

employers to hold mandatory trainings or other required activities (conduct); the Act

is violated if and only if those trainings or activities involve endorsement of any

prohibited concepts (speech).        See id. So, for example, a CEO offering

extemporaneous remarks about her vision for the company at an annual meeting that

employees are required to attend would have to self-censor to ensure that her words

don’t violate the Act—a tightrope act that would be even more precarious if the

company’s mission involves a prohibited concept like dismantling white privilege.

      Defendants attempt to argue that “what the Act punishes is conduct that is

quite readily ‘separately identifiable’ from speech: mandating attendance of

unwilling employees at the sessions where the speech occurs.” Br. at 22 (cleaned

up). But Defendants cannot explain the punished conduct without reference to

speech—as they concede, the Act applies only to sessions “where the [prohibited]

speech occurs.” See also id. at 20 (“All businesses may not do is require their

employees to attend training sessions or activities where the prohibited ideas are


                                          19
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 32 of 66



espoused.” (cleaned up) (emphasis added)); id. at 21 (noting that the “Act’s

employment provisions, by their plain terms, apply only to the non-expressive

conduct of requiring employees to attend training sessions where the kind of speech

identified by the Act occurs” (emphasis added)). Mandatory meetings—even those

touching on the same subjects—are not prohibited, as long as those meetings

espouse the State’s preferred views. Defendants’ own characterization belies their

argument that the Act punishes conduct separately identifiable from speech.

      Defendants’ citation to decisions of the Supreme Court and this Court where

speech is only incidentally burdened do not suggest a different result. Defendants

first rehash their attempt below to analogize this case to Rumsfeld v. FAIR, 547 U.S.

47 (2006), arguing that in both cases speech is affected, but only incidentally to the

regulation of conduct. See Br. at 19. But affording equal access to military recruiters

is conduct that does not regulate speech at all: “The Solomon Amendment neither

limits what law schools may say nor requires them to say anything . . . the Solomon

Amendment regulates conduct, not speech. It affects what law schools must do—

afford equal access to military recruiters—not what they may or may not say.”

FAIR, 547 U.S. at 60. The same cannot be said of the Stop WOKE Act; the supposed

“conduct” here is not simply mandating trainings, but mandating trainings where




                                          20
USCA11 Case: 22-13135       Document: 26      Date Filed: 01/11/2023   Page: 33 of 66



certain concepts are espoused. See Br. at 22. And as discussed, such espousal can

only be effected through speech/expression.13

      Defendants also mistakenly rely on this Court’s recent decision in Norwegian

Cruise Line Holdings Ltd. v. State Surgeon Gen., which involves “a Florida statute

that prohibits all businesses operating in the state from requiring customers to

provide documentary proof that they are vaccinated against COVID-19.” 50 F.4th

1126, 1130 (11th Cir. 2022); see Br. at 20. That case is easily distinguishable;

Norwegian Cruise Line was clear that the relevant statute “limit[ed] no

communications between customers and businesses” and neither “prohibit[ed]

businesses from asking customers about their vaccination status” nor “prohibit[ed]

customers from responding—orally or in writing—with that information and proof.”

Norwegian Cruise Line, 50 F.4th at 1137. The Court further noted that unlike some

“cases at the margin” where it “may sometimes be difficult to figure out what

constitutes speech,” Norwegian Cruise Line was not a “hard case in that respect.”

Id. at 1135. Both FAIR and Norwegian Cruise Line concerned the conduct of


13
   Defendants also point to an example in FAIR, in which the Supreme Court
explained that a law prohibiting employers from discriminating in hiring on the basis
of race, which would “require an employer to take down a sign reading ‘White
Applicants Only,’” does not mean the law should be analyzed as regulating speech
rather than conduct. FAIR, 547 U.S. at 62. However, that anti-discrimination
provision targets the separately identifiable conduct of racial discrimination in
hiring, while the “White Applicants Only” sign is a mere reflection of the targeted
conduct/policy. Here, speech is the central target of the Act, a reality that
Defendants’ preferred label of “conduct” attempts unsuccessfully to obscure.
                                         21
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 34 of 66



granting equal access to physical spaces—equal access for military recruiters

(relative to other employers) and equal access for unvaccinated individuals (relative

to vaccinated individuals). In contrast, DEI trainings consist entirely of actual

speech and expression. Cf. Otto, 981 F.3d at 865-66 (“[T]he law does not require us

to flip back and forth between perspectives [concerning speech versus conduct] until

our eyes hurt. Our precedent says the opposite: ‘Speech is speech, and it must be

analyzed as such for purposes of the First Amendment.’” (quoting Wollschlaeger,

848 F.3d at 1307)).

      Similarly, Defendants cannot rely on this Court’s en banc decision in

Wollschlaeger. See Br. at 21. In Wollschlaeger, this Court struck down every

provision that imposed speech-based restrictions on doctors, notwithstanding

Florida’s attempt to recharacterize them as conduct restrictions. See 848 F.3d at

1319. It upheld one anti-discrimination provision, and even then only after imposing

a limiting construction such that the provision encompassed solely non-expressive

conduct and posed “no First Amendment problem,” as the plaintiffs themselves

acknowledged. Id. at 1317. Here, no construction could limit the Stop WOKE Act

to only non-expressive conduct because, as discussed, the prohibition is specifically

defined in terms of Plaintiffs’ speech/expression.

      In sum, there is nothing incidental about the Stop WOKE Act’s burden on

speech: its very core is a list of “prohibited concepts.” The Act targets no separately


                                          22
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 35 of 66



identifiable conduct and cannot be understood without reference to speech. Because

the Act regulates speech, not conduct, it is subject to First Amendment scrutiny.

             2.     Defendants’ “Threshold Inquiry” Argument Lacks Support
                    in the Relevant Case Law.

      After arguing that the Act regulates conduct, Defendants advance a somewhat

different argument that “a threshold inquiry into the content of speech is not itself a

regulation of speech” and that the Act poses no First Amendment problem because

the “purpose of looking at the content of speech is to restrict non-speech conduct.”

Br. at 13. This contention finds no support in the law.

      Defendants repeatedly cite the Supreme Court’s pronouncement in Hill v.

Colorado, 530 U.S. 703, 721 (2000), that it has “never held, or suggested, that it is

improper to look at the content of an oral or written statement in order to determine

whether a rule of law applies to a course of conduct.” See Br. at 3, 24, 26. But

Defendants ignore the (directly adjacent) language that distinguishes the

circumstances of Hill from those of this case: “With respect to the conduct that is

the focus of the Colorado statute, it is unlikely that there would often be any need to

know exactly what words were spoken in order to determine whether ‘sidewalk

counselors’ are engaging in ‘oral protest, education, or counseling’ rather than pure

social or random conversation.” Hill, 530 U.S. at 721 (emphasis added).14 Thus,


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   At issue in Hill was a Colorado statute that made it unlawful—within 100 feet of
a health care facility entrance—for any person to “knowingly approach” within eight
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USCA11 Case: 22-13135        Document: 26       Date Filed: 01/11/2023   Page: 36 of 66



Hill might apply if the Stop WOKE Act prohibited all “mandatory employee

trainings” regardless of content, even if courts had to assess whether the activities

constituted “training” (without regard to its specific subject). But that is the opposite

of how the Act works. Applying the Stop WOKE Act—determining whether the

employer espoused a prohibited concept—requires knowing exactly what words

were spoken in a required activity. The need to assess the content of the speech is

even more acute when applying the Act’s distinction between “discussion” and

“endorsement.”

      Notably, Hill reaffirmed Carey v. Brown, which struck down as

unconstitutional a statute that generally prohibited peaceful picketing, but exempted

labor picketing at a workplace. The statute impermissibly “accorded preferential

treatment to expression concerning one particular subject matter—labor disputes—

while prohibiting discussion of all other issues,” which was “constitutionally

repugnant.” Hill, 530 U.S. at 722-23 (citing Carey v. Brown, 447 U.S. 455, 462 n.6



feet of another person (without that person’s consent) “for the purpose of passing a
leaflet or handbill to, displaying a sign to, or engaging in oral protest, education, or
counseling with such other person.” Hill, 530 U.S. at 707 (quoting Colo. Rev. Stat.
§ 18-9-122(3) (1999)). The Hill court considered whether the statute’s terms of “oral
protest, education, or counseling” were broad enough to encompass all
communication, as the Colorado Attorney General had argued and as the Colorado
Supreme Court had essentially ruled, thereby obviating any need to examine the
exact words spoken. See id. at 720-21 & n.29. (As the Hill court found that the
petitioners had likely waived any argument to the contrary, the court instead opted
to rule against petitioners on other grounds. See id. at 721.)
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USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 37 of 66



(1980)). The Stop WOKE Act embodies the same “constitutionally repugnant”

differential treatment among topics as did Carey.15

             3.     Even if the Act is Found to Regulate Conduct, the “Conduct”
                    Triggering Coverage Consists of Communicating a Message
                    and Therefore Strict Scrutiny Applies.

      While Defendants are wrong that the Act regulates conduct, even if that were

correct, it would regulate conduct solely based on the message it communicates,

which would also be subject to heightened First Amendment scrutiny. The Supreme

Court in Holder v. Humanitarian Law Project explained that certain “law[s] . . . may

be described as directed at conduct, as the law in Cohen was directed at breaches of

the peace, but as applied to plaintiffs the conduct triggering coverage under the

statute consists of communicating a message.” 561 U.S. 1, 28 (2010) (emphasis

added) (“[W]e recognized that the generally applicable law was directed at Cohen

because of what his speech communicated—he violated the breach of the peace

statute because of the offensive content of his particular message.”). In this scenario,




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   Defendants also cite the Supreme Court’s recent opinion in City of Austin v.
Reagan Nat’l Advert. of Austin, LLC, characterizing that opinion as “rejecting ‘the
view that any examination of speech or expression inherently triggers heightened
First Amendment concern.’” Br. at 24 (quoting 142 S. Ct. 1464, 1474 (2022)). But
that strawman argument mischaracterizes Plaintiffs’ position: Plaintiffs do not argue
that any examination of speech triggers the First Amendment, but rather that in this
case, where such examination of speech is both central to and inseparable from the
statute, heightened First Amendment concerns are raised.
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USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 38 of 66



the Supreme Court applies “a more demanding standard,” namely strict scrutiny. Id.

(citation omitted).

      Holder is relevant in two ways here. First, while Defendants attempt to

describe the Stop WOKE Act as directed at conduct, an employer triggers the Act

not by holding mandatory trainings or activities (wearing the jacket to court), but by

espousing a particular message (“F*** the Draft”). For Plaintiffs, the “conduct” that

triggers coverage under the Stop WOKE Act consists of communicating one or more

of eight specific messages, which are singled out on the face of the statute for

punishment.

      Second, even if one were to accept Defendants’ framing of the conduct at

issue (“an employer’s action of mandating attendance at certain training sessions or

other required employment activities and sanctioning employees who disobey,” Br.

at 13), that conduct too “consists of communicating a message.” Holder, 561 U.S.

at 28. As the district court correctly noted, Plaintiffs plainly are not required by law

to hold DEI trainings, and thus doing so and making them mandatory communicates

the importance that the employer places on the topics that will be addressed. See

Op. at 20-21 n.7. Nothing in FAIR suggests a contrary conclusion. Unlike the

observers in FAIR who would “ha[ve] no way of knowing whether [a] law school is

expressing its disapproval of the military” when they see the military “interviewing

away from the law school,” FAIR, 547 U.S. at 66, employees readily understand the


                                          26
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 39 of 66



message conveyed by an employer who makes certain DEI trainings “mandatory”

or certain DEI-related activities “required.”16

             4.     The Stop WOKE Act Discriminates Based Upon Viewpoint
                    and Is Therefore Presumptively Unconstitutional.

      The First Amendment prohibits the government from “engag[ing] in ‘bias,

censorship or preference regarding [another] speaker’s point of view.” Otto, 981

F.3d at 864 (citation omitted). “The State may not burden the speech of others in

order to tilt public debate in a preferred direction.” Sorrell v. IMS Health Inc., 564

U.S. 552, 578-79 (2011). Consequently, “[l]aws that restrict speech based on the

viewpoint it expresses are presumptively unconstitutional.” Calvary Chapel Dayton

Valley v. Sisolak, 140 S. Ct. 2603, 2607 (2020). Indeed, the Supreme Court has

indicated that finding a statute “viewpoint discriminatory” is “all but dispositive” in

a First Amendment challenge, Sorrell, 564 U.S. at 571, leading this Court to suggest

that such laws may be “unconstitutional per se,” Otto, 981 F.3d at 864.

      The statute’s prohibition against “espous[ing], promot[ing], advanc[ing],

inculcat[ing], or compel[ling belief in]” any of eight “concepts” targets not only

those concepts, but also the viewpoint that favors them. The Act underscores its



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   As Plaintiffs briefed below, the message communicated when an employer makes
a training or other activity mandatory is that it signals the priority the employer puts
on the content. Whether that priority results from business strategy, the business’s
values, its leadership’s assessment of liability risk, or some combination of these
factors, it is nonetheless a message.
                                          27
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 40 of 66



viewpoint discrimination by clarifying that the law does not “prohibit discussion of

the concepts” as long as the “instruction is given in an objective manner without

endorsement of the concepts.” Fla. Stat. § 760.10(8)(b) (2022) (emphasis added).

      The relevant “question is whether a speaker’s viewpoint determines his

license to speak.” Otto, 981 F.3d at 864. By its express terms, the Act allows an

employer to offer (and require) training (or any other “activity”) that disagrees with

the eight concepts, but bans any mandatory training or activity at which those

concepts are endorsed.     The Act is therefore presumptively—if not per se—

unconstitutional.

      Contrary to Defendants’ contentions, it does not matter that Plaintiffs remain

free to espouse the disfavored concepts in their cars to themselves, or to others in

different circumstances. What matters is that an employer’s ability to hold a

mandatory employee meeting depends entirely upon the viewpoint the employer will

espouse on topics of central public import. While the availability of alternative times

or places to communicate are relevant considerations, even time, place, and manner

restrictions are subject to strict scrutiny when based on the content of speech, and

such restrictions based on viewpoint are prohibited altogether. E.g., Minn. Voters

All. v. Mansky, 138 S. Ct. 1876, 1885 (2018); Pleasant Grove City v. Summum, 555

U.S. 460, 469 (2009). The Stop WOKE Act is precisely the opposite of viewpoint-

neutral.


                                          28
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 41 of 66



               5.   Even if Not Per Se Unconstitutional, the Act Fails Strict
                    Scrutiny, Because Its Content Restrictions Are Not Narrowly
                    Tailored to Serve Any Compelling State Interest.

      Even if not viewpoint-based, the Stop WOKE Act plainly constitutes content-

based speech discrimination because the Act distinguishes permissible from

impermissible speech at mandatory trainings and other required activities “based on

‘the topic discussed or the idea or message expressed.’” City of Austin, 142 S. Ct. at

1474 (quoting Reed v. Town of Gilbert, 576 U.S. 155, 171(2015)); see also Otto, 981

F.3d at 862.

      A law is content-based where it “single[s] out specific subject matter for

differential treatment.” City of Austin, 142 S. Ct. at 1471 (citation omitted). The

Stop WOKE Act, which singles out eight prohibited concepts for differential

treatment and prohibits endorsement of those concepts, while allowing speech that

is critical of the concepts, clearly qualifies. As a content-based restriction, the Act

is “presumptively unconstitutional and may be justified only if the government

proves that [it is] narrowly tailored to serve compelling state interests.” Reed, 576

U.S. at 163. “Laws or regulations almost never survive this demanding test.” Otto,

981 F.3d at 862 (emphasis added).

      Defendants articulate two purported state interests: “(1) protecting Florida’s

workers from being conscripted into a captive audience and forced to listen to speech

they do not want to hear, and (2) protecting the workplace from speech that


                                          29
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023    Page: 42 of 66



invidiously discriminates on the basis of race, color, sex, or national origin.” Br. at

14. Neither justifies the Act’s restrictions on core protected speech.

                    a)     Captive Audience

      Defendants’ invocation of the captive audience doctrine is misplaced. As this

Court observed in Wollschlaeger, “where adults are concerned[,] the Supreme Court

has never used a vulnerable listener/captive audience rationale to uphold speaker-

focused and content-based restrictions on speech.” 848 F.3d at 1315. Accordingly,

the district court correctly held that the captive audience doctrine does not apply to

the employment context, and even if it did, strict scrutiny would still govern because

the Act is content-based (not to mention viewpoint-discriminatory). See Op. at 21-

22.

      Defendants point to no authority for their proposition that “the economic

dependence of the employees on their employers,” Br. at 36, trumps First

Amendment principles. To the contrary, like this Court, the Supreme Court has

cautioned that the captive audience doctrine has been applied “only sparingly,” and

specifically with reference to the home, based on privacy interests (e.g., delivering

offensive mail, picketing outside an individual’s home). Snyder v. Phelps, 562 U.S.

443, 459 (2011) (holding that doctrine did not justify silencing protestors picketing

a funeral). “[T]he ability of government, consonant with the Constitution, to shut

off discourse solely to protect others from hearing it is . . . dependent upon a showing


                                          30
USCA11 Case: 22-13135         Document: 26     Date Filed: 01/11/2023   Page: 43 of 66



that substantial privacy interests are being invaded in an essentially intolerable

manner.” Id. (emphases added) (quoting Cohen, 403 U.S. at 21). Workplace

trainings—even required ones—hardly rise to this level. Defendants’ attempt to

expand the captive audience doctrine would have the very effect against which

Cohen warned: it “would effectively empower a majority to silence dissidents

simply as a matter of personal predilections.” 403 U.S. at 21.

                       b)   Invidious Discrimination

      Preventing invidious discrimination, Defendants’ second purported interest,

is surely a compelling state interest. But as the district court held, Defendants in no

way demonstrate how the Stop WOKE Act is narrowly tailored to achieving that

interest. Op. at 26.

      In the narrow tailoring analysis, “[a] law fails to survive if it is either

underinclusive (that is, if it does not regulate enough conduct) or overinclusive (if it

regulates too much conduct).” Otto, 981 F.3d at 879. The Stop WOKE Act is both.

      The Act is plainly overinclusive. To begin, the Act prohibits espousing the

prohibited concepts, independent of any impact on the listener. Even if every

member of the audience was grateful for gaining a better understanding of the

systemic nature of racism, sexism, or homophobia and how the audience members

may, unintentionally, be contributing to such discrimination, and even if this

understanding reduced instances of workplace discrimination, the employer would


                                          31
USCA11 Case: 22-13135         Document: 26      Date Filed: 01/11/2023   Page: 44 of 66



still have violated the Act by espousing the concepts, simply because the government

disagrees with those ideas.

      Likewise, the substantive sweep of the Act goes far, far beyond “invidious

discrimination.” For instance, concept 4 prohibits mandatory trainings endorsing

the notion of cultural competency—i.e., that employees should recognize that others

may be coming from different backgrounds and to appreciate those different

perspectives in how employees interact with them.                 Far from invidious

discrimination,   such   trainings   are     geared    toward   preventing    invidious

discrimination. The same is true of a mandatory training, for example, at which

senior employees are encouraged to mentor junior employees who are members of

historically underrepresented communities or women, which is common of many

workplaces; this too would run afoul of the same prohibited concept that members

of one race or sex should not attempt to treat others without respect to race or sex.

In fact, as detailed below, the Act sweeps far broader still, prohibiting employers

from endorsing views such as “America is the greatest nation on Earth,” “men should

be handicapped when competing with women in sports,” and “Germans should feel

guilty and remorseful for the Holocaust.” See infra Section I.B.2.

      The Act is also underinclusive, “rais[ing] doubts about whether the

government is in fact pursuing the interest it invokes, rather than disfavoring a

particular speaker or viewpoint.” Otto, 981 F.3d at 879 (quoting Williams-Yulee v.


                                           32
USCA11 Case: 22-13135       Document: 26      Date Filed: 01/11/2023   Page: 45 of 66



Fla. Bar, 575 U.S. 433, 444 (2015)). If subjecting employees to the prohibited

concepts truly constituted the kind of invidious discrimination Defendants assert,

then the Act would presumably also have prohibited employers from posting them

on a sign at the workers’ entrance (as in the FAIR example prohibiting a “White

Applicants Only” sign). Yet Defendants cite as a virtue that nothing in the Act

prevents employers from endorsing the prohibited concepts at work, so long as they

do not do so in a “required activity.” See Br. at 2, 37-38. If the goal of the Stop

WOKE Act is to stamp out speech that constitutes invidious discrimination in the

workplace, it makes no sense that its prohibitions would stop at mandatory meetings.

      Further undermining Defendants’ narrow tailoring argument is the fact that

both Florida and federal law already prohibit actual invidious discrimination. See

Wollschlaeger, 848 F.3d at 1314 (explaining that a law failed narrow tailoring where

the interests it purportedly served were already tended to by other laws). As the

district court noted, the Florida Civil Rights Act “already prohibit[s] much of what

Defendants claim the [the Stop WOKE Act] aims to prohibit,” such as “a diversity

and inclusion training . . . so offensive, and so hostile to White employees, that it

could create a hostile work environment.” Op. at 26. As described below, existing

anti-discrimination law is narrower than the Stop WOKE Act, because it only

captures speech so severe or pervasive that it alters the terms and conditions of

employment. And existing discrimination laws are broader than the Act because


                                         33
USCA11 Case: 22-13135        Document: 26     Date Filed: 01/11/2023   Page: 46 of 66



they do not stop at mandatory meetings; instead, they prohibit workplace conduct

that amounts to invidious discrimination, wherever and whenever it occurs. See Fla.

Stat. § 760.10(2); 42 U.S.C. § 2000e-2(a)(1).

       Defendants’ strained attempt to equate the Stop WOKE Act with Title VII

only underscores the Act’s flaws. The Act on its face and by its express terms

prohibits the communication of certain ideas (independent on any effect that those

ideas may have on listeners); Title VII does not do so—let alone prohibit specific

messages. Instead, as the district court rightly noted, Title VII prohibits employers

from discriminating against employees and job applicants in the “terms” and

“conditions” of their employment on the basis of their race, color, religion, sex, or

national origin. See 42 U.S.C. § 2000e-2(a)(1); Op. at 23. It is accordingly a

“content-neutral regulation of conduct” on its face, Wisconsin v. Mitchell, 508 U.S.

476,   487   (1993),   and    the   conduct     it   prohibits—“[i]nvidious   private

discrimination”—“has never been accorded affirmative constitutional protections,”

Hishon v. King & Spalding, 467 U.S. 69, 78 (1984) (citation omitted).

       The Supreme Court has held that Title VII can sometimes be applied to reach

speech that contributes to or amounts to unlawful discrimination. But speech creates

a hostile work environment under Title VII only when it is “severe or pervasive

enough to create an objectively hostile or abusive work environment—an

environment that a reasonable person would find hostile or abusive.’” Harris v.


                                         34
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 47 of 66



Forklift Sys., Inc., 510 U.S. 17, 21 (1993). It must be so “extreme” as “to amount to

a change in the terms and conditions of employment.” Faragher v. City of Boca

Raton, 524 U.S. 775, 788 (1998). Moreover, the “victim” must also “subjectively

perceive the environment to be abusive.” Harris, 510 U.S. at 21.

      Both the Supreme Court and this Court have explained that “[t]he standards

for judging hostility are intended to be ‘sufficiently demanding to ensure that Title

VII does not become a general civility code.’” Tonkyro v. Sec’y, Dep’t of Veterans

Affs., 995 F.3d 828, 837 (11th Cir. 2021) (quoting Faragher, 524 U.S. at 788)

(emphasis added); Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 81

(1998) (detailing that the limits on hostile workplace claims are aimed at

“prevent[ing] Title VII from expanding into a general civility code”). Thus, contrary

to Defendants’ suggestion, Title VII does not outlaw certain words, independent of

their context: this Court has held that, in and of itself, “[m]ere utterance of an . . .

epithet which engenders offensive feelings in an employee does not sufficiently

affect the conditions of employment to implicate Title VII.” Tonkyro, 995 F.3d at

837 (quoting Harris, 510 U.S. at 21). Rather, quite unlike the Act, “the context of

offending words or conduct is essential to the Title VII analysis.” Reeves v. C.H.

Robinson Worldwide, Inc., 594 F.3d 798, 810 (11th Cir. 2010) (emphasis added).

      In contrast, through the Stop WOKE Act, Florida has made it illegal for words

expressing verboten ideas to leave employers’ mouths, regardless of context and


                                          35
USCA11 Case: 22-13135       Document: 26      Date Filed: 01/11/2023   Page: 48 of 66



regardless of any impact on the listener or conditions of employment. Nor is the Act

a nuanced legislative attempt to “refine[]” workplace discrimination law. Br. at 39.

One might imagine, at least in theory, a law that, with care, works to identify and

prohibit discrete words and phrases that amount to “fighting words” in certain, very

narrowly cabined employment contexts. See R.A.V. v. City of St. Paul, 505 U.S. 377,

389 (1992). But that is not what the Stop WOKE Act does.17 Instead, as Defendants

trumpet, “[t]he Act . . . represents the Florida Legislature’s determination that

forcing employees to hear the advocacy of certain ideas as a condition of

employment constitutes actionable employment discrimination.”             Br. at 39

(emphasis added). That runs headlong into “a bedrock principle underlying the First

Amendment . . . that the government may not prohibit the expression of an idea

simply because society finds the idea itself offensive or disagreeable.” Texas v.

Johnson, 491 U.S. 397, 414 (1989); see also Snyder, 562 U.S. at 458 (“[S]peech

cannot be restricted simply because it is upsetting or arouses contempt.”).


17
   The Stop WOKE Act plainly goes far beyond speech that would give rise to a
hostile workplace claim under existing anti-discrimination laws. Most of the
targeted speech in the Stop WOKE Act would fail to meet the majority (if any) of
the factors ordinarily considered: (1) the frequency of the conduct; (2) the severity
of the conduct; (3) whether the conduct is physically threatening or humiliating, or
a mere offensive utterance; and (4) whether the conduct unreasonably interferes with
the employee’s job performance. See Harris, 510 U.S. at 23. The prohibited speech
would be even more plainly deficient in meeting Title VII’s subjective requirement.
While hostile work environment claims look to the impact of the speech on the
victimized employee (subjective perception), the Stop WOKE Act is violated once
the words leave the mouth, without any consideration of the impact of that speech.
                                         36
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 49 of 66



      Stripped of inapt comparisons and misreadings of Title VII precedent, the core

of Defendants’ argument is that there could be some interpretations of Title VII that

might trigger heightened scrutiny under the First Amendment. But that hypothetical

proposition proves nothing; no court has ever found Title VII to be inconsistent with

First Amendment protections. By contrast, every application of the Stop WOKE Act

violates the First Amendment, precisely because it is the idea expressed, divorced

from any effect, that violates the Act. Harris, repeatedly cited by Defendants, is not

an edge case, and there is no need for the Court to consider hypothetical edge cases

under Title VII here.18

      Nor, finally, does the combination of Defendants’ two inadequate interests,

see Br. at 14, satisfy strict scrutiny. First, the Supreme Court has made clear that

even restrictions protecting the quintessential captive audience—the home-

dweller—must be content-neutral, and the Court has invalidated content-based



18
   In Harris, the president of Forklift Systems both said and did the following to
Harris, a manager at Forklift: (1) “You’re a woman, what do you know”; (2) “We
need a man as the rental manager”; (3) “[D]umb ass woman”; (4) “[G]o to the
Holiday Inn to negotiate [Harris’s] raise”; (5) “What did you do, promise the guy . .
. some [sex] Saturday night?”; (6) the president would throw objects on the ground
in front of Harris and other women and ask them to pick them up; and (7) the
president would make sexual innuendos about Harris’s and other women’s clothing.
510 U.S. at 19. There is a clear difference between this type of speech that is “severe
or pervasive enough to create an objectively hostile or abusive work environment”
and the type of speech that the Supreme Court in cases like Johnson and Snyder
explained is protected by the First Amendment, in spite of the fact that it is upsetting
to some or arouses contempt.
                                          37
USCA11 Case: 22-13135       Document: 26      Date Filed: 01/11/2023   Page: 50 of 66



proscriptions. Compare Carey, 447 U.S. at 471 (striking down content-based ban

on picketing outside homes) with Frisby v. Schultz, 487 U.S. 474, 488 (1988)

(upholding content-neutral ban on picketing outside homes). In any event, even if

the Act’s viewpoint- and content-based nature were permissible under the captive

audience doctrine, the Act’s prohibitions would still fail narrow tailoring because

they capture far more speech than necessary to serve either interest, as demonstrated

by the fact that the Act’s application does not depend on proof of any adverse impact

on the listener. See Reed, 576 U.S. at 163.

                                        ***

      In sum, none of Defendants’ arguments against the Act’s failure to withstand

strict scrutiny holds water. The State has no legitimate interest in suppressing the

viewpoints of its citizens, as the Act does. While Defendants are free to advocate

their own views of the eight “concepts,” they are not free to punish those who refuse

to abide by government-proscribed orthodoxy. See Barnette, 319 U.S. at 642.

      B.     The District Court Did Not Abuse Its Discretion in Holding That
             Plaintiffs Are Likely to Succeed on the Merits of Their Fourteenth
             Amendment Claim.

             1.    The Stop WOKE Act Is Unconstitutionally Vague.

      The Stop WOKE Act—which regulates employer speech advancing such

nebulous concepts as implicit bias, privilege, moral superiority, and guilt or anguish

because of the actions of others—is void for vagueness under the Due Process


                                         38
USCA11 Case: 22-13135        Document: 26       Date Filed: 01/11/2023   Page: 51 of 66



Clause. A law “can be impermissibly vague for either of two independent reasons.

First, if it fails to provide people of ordinary intelligence a reasonable opportunity to

understand what conduct it prohibits. Second, if it authorizes or even encourages

arbitrary and discriminatory enforcement.”         Wollschlaeger, 848 F.3d at 1319

(quoting Hill, 530 U.S. at 732). The Stop WOKE Act fails on both grounds.

      The “vagueness” of “content-based regulation of speech” notably “raises

special First Amendment concerns because of its obvious chilling effect on free

speech.” Reno v. ACLU, 521 U.S. 844, 871-72 (1997). Vague laws force would-be

speakers to “steer far wider of the unlawful zone” and “thus silenc[e] more speech

than intended.” Wollschlaeger, 848 F.3d at 1320.

      Defendants’ attempt to argue for a less stringent vagueness test on the ground

that the Stop WOKE Act is an “economic regulation,” Br. at 45, fails. In Village of

Hoffman Ests. v. Flipside, Hoffman Ests., Inc., on which Defendants rely, the Court

merely concluded that the law, which targeted the display of items along with

literature encouraging illegal drug use, was not vague. 455 U.S. 489, 492, 503

(1982). The Court observed that several factors influence the vagueness inquiry,

including whether the enactment regulates businesses who have the opportunity to

clarify its meaning in advance, whether a law imposes civil rather than criminal

penalties, and whether there is a scienter requirement that can mitigate the law’s

vagueness. Id. at 498-99. The Court noted that “perhaps the most important factor


                                           39
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 52 of 66



affecting the clarity that the Constitution demands of a law is whether it threatens to

inhibit the exercise of constitutionally protected rights,” and that “[i]f, for example,

the law interferes with the right of free speech, . . . a more stringent vagueness test

should apply.” Hoffman Ests., 455 U.S. at 499 (emphasis added). The Stop WOKE

Act targets speech at the heart of the First Amendment’s protections, rather than

mere regulation of commercial activity.           Cf. Expressions Hair Designs v.

Schneiderman, 581 U.S. 37 (2017) (noting that law prohibiting credit card

surcharges, but not cash discounts, targeted “speech,” because it did not regulate the

price of goods, but how the price was communicated). A heightened vagueness

standard should therefore apply.

      The “concepts” prohibited by the Stop WOKE Act are not set forth in a

manner that makes reasonably understandable the scope of the prohibited conduct,

and they lack “clearly perceived boundaries.” See Heyman v. Cooper, 31 F.4th 1315,

1323 (11th Cir. 2022). As the district court correctly recognized, the fact that the

statute uses words defined in a dictionary (as all statutes do) does not cure it of

vagueness. Op. at 30. Vague terms abound among the eight prohibited concepts,

from what it means to be “morally superior” in prohibited concept 1, what counts as

“unconsciously” “inherently” biased in prohibited concept 2, what constitutes being

“necessarily” “privileged” in prohibited concept 3, what “without respect to” the

listed criteria means in prohibited concept 4, what “responsibility” in prohibited


                                          40
USCA11 Case: 22-13135       Document: 26      Date Filed: 01/11/2023   Page: 53 of 66



concept 5 encompasses, what “other forms of psychological distress” are covered or

what “must feel” means in prohibited concept 7, to what is intended by “created …

to oppress” in prohibited concept 8.

      Moreover, the authorities upon which Defendants rely for the proposition that

statutes cannot be vague if dictionaries are available are inapposite, as those cases

all involved terms that were much more concrete and less abstract than those

employed in the Stop WOKE Act’s prohibited concepts. See, e.g., Tracy v. FAU Bd.

of Trs., 980 F.3d 799, 807-08 (11th Cir. 2020) (defining “professional practice” as

“activity characteristic of one’s profession”); High Ol’ Times, Inc. v. Busbee, 673

F.2d 1225, 1230-31 (11th Cir. 1982) (regulating the sale of “drug related object[s]”

as those “designed or marketed as useful primarily for” use with controlled

substances). For example, in Heyman, in interpreting a local ordinance barring

short-term rentals and leases, this Court defined “lease” and “rental” as synonyms.

See 31 F.4th at 1322-23. Heyman distinguished between uncertainty resulting from

“verbal ambiguity” and from “verbal vagueness,” and observed, “‘A word or phrase

is ambiguous when the question is which of two or more meanings applies; it is

vague when its unquestionable meaning has uncertain application to various factual

situations.’” Id. at 1323 n.6 (quoting Antonin Scalia & Bryan A. Garner, Reading

Law: The Interpretation of Legal Texts 32-33 (2012)).




                                         41
USCA11 Case: 22-13135       Document: 26       Date Filed: 01/11/2023   Page: 54 of 66



      Whether a lease means the same thing as a rental is a wholly different type of

question than the uncertainty as to whether the prohibited concepts apply to various

factual situations. See Heyman, 31 F.4th at 1323 n.6. For example, it is uncertain

whether mandatory trainings encouraging law firm partners to expend additional

efforts to mentor women or individuals from communities of color underrepresented

among the partnership would violate prohibited concept 6 by “discriminating” based

on “sex” or “race” “to achieve diversity, equity, or inclusion.” Nor is it obvious

whether trainings encouraging “cultural competence”—e.g., understanding that the

race of a co-worker may affect how they experience different events or actions—

would violate prohibited concept 4 by advancing the idea that people “should not

attempt to treat others without respect to race.” Similarly thorny is determining

whether an employer, after noticing that only women had been asked to take notes

at meetings, could instruct employees to be mindful of gender dynamics without

violating prohibited concept 4 by inculcating that they “should not attempt to treat

others without respect to . . . sex.” Supp. App. 3.

      Defendants try to defend two of the eight prohibited concepts as not being

vague, IB 46-48, but as Plaintiffs demonstrated in their uncontested factual showing

below, each of the eight prohibited concepts is abstract and susceptible to arbitrary

enforcement:

      ● As to concept 1, Orrin in her DEI trainings regularly uses the terms
        “dominant groups” and “subordinated groups” to describe “power

                                          42
USCA11 Case: 22-13135     Document: 26      Date Filed: 01/11/2023   Page: 55 of 66



       relationships that often map onto race or sex.” Supp. App. 15-16. It
       is unclear if these terms convey the type of “moral superiority” that
       would violate the Act.

    ● As to concept 2, Orrin’s “entire framework” is to honestly convey
      “the reality that all of us have unconscious biases by virtue of the
      culture in which we are steeped.” Supp. App. 4. Whether this
      framework advances the idea that an individual, by virtue of national
      origin, is “inherently . . . oppressive . . . , whether consciously or
      unconsciously,” is not clear.

    ● As to concept 3, Orrin in her DEI sessions often uses the exercise of
      a “privilege wheel” based on protected characteristics “for
      participants to visualize those in their organizations with the most
      and the least power” and to better understand their own privilege.
      Supp. App. 16-17. It is hard to discern whether this exercise
      promotes that a person’s “status as either privilege or oppressed is
      necessarily determined by . . . sex” in a way that violates the Act.

    ● As to concept 4, Orrin gives a presentation titled “Beyond Empathy:
      A Call for White Humility in Response to Black Rage and
      Resistance” about the impact of centuries of anti-Black violence in
      the United States. Supp. App. 16. Again, it is not clear whether this
      presentation—acknowledging a history of violence directed at one
      race and conveying that individuals belonging to the race that
      historically perpetuated the violence and those of the race that were
      the targets of the violence should reflect on their relative privilege—
      amounts to promoting that members of one race “cannot and should
      not attempt to treat others without respect to . . . race.”

    ● As to concepts 5 and 6, Orrin conducts a presentation titled
      “Corporate Complicity: A Case Study in Restorative Justice” which
      “ask[s] participants to think about how ‘your own institutions have
      been involved in larger systemic oppression’” and how the
      institution could engage in corrective actions, endorsing
      “reparations.” Supp. App. 17-18. It is difficult to determine whether
      this presentation amounts to espousing that an individual by virtue
      of race, “bears responsibility for” past actions by others of the same
      race or that individuals of one race should “receive adverse
      treatment to achieve diversity, equity, or inclusion.”

                                       43
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 56 of 66



      ● As to concept 7, Orrin in her DEI sessions has participants “reflect
        on historical wrongs” after which they “routinely” tell her that they
        feel guilt about, for example, “exclusion of women from
        traditionally male fields like science and technology,” and that, in
        her view “[p]sychological unease or guilt may be a necessary part
        of growth.” Supp. App. 18. It is not clear whether these sessions
        advance the idea that a person by virtue of sex “bears personal
        responsibility for” and “must feel . . . psychological distress”
        because of actions by others of the same sex.

      ● Finally, as to concept 8, Orrin tries to help companies “recognize
        when they have set u[p] systems of reward based on white normative
        culture” that, for example, informs what qualifies as “professional.”
        Supp. App. 18-19. Whether this strays into espousing that “such
        virtues as merit, excellence, . . . and racial colorblindness are racist”
        is unclear.

      Moreover, even if any of the individual concepts were not vague, the entire

statute is unconstitutionally vague, because one cannot discern “endorsement” of a

prohibited concept, as opposed to “objective discussion” of the same.

Fundamentally, the Stop WOKE Act’s hazy line between objective discussion and

endorsement cannot provide an effective safe harbor. See Gentile v. State Bar of

Nev., 501 U.S. 1030, 1048. 1051 (1991) (quoting Grayned v. City of Rockford, 408

U.S. 104, 112 (1972)) (striking bar rule as impermissibly vague where target of

discipline had reviewed the rule, tried to comply, but did not properly guess at the

safe harbor’s contours; concluding that such a rule “fails to provide ‘fair notice to

those to whom it is directed’” and is “so imprecise that discriminatory enforcement

is a real possibility”). Each of Plaintiffs has expressed that this line is unworkable—

once they raise the notion that implicit bias or privilege exists, they feel ethically

                                          44
USCA11 Case: 22-13135           Document: 26    Date Filed: 01/11/2023   Page: 57 of 66



obligated to also advance the view that we should try to overcome these blind spots

and prejudices, both to ensure a healthy workplace culture and to be true to their

organizational values. See Supp. App. 4-5, 12, 20. Defendants again turn to the

dictionary to explain that objective discussion means “without distortion by . . .

interpretation,” Br. at 48—an explanation that is itself vague and clears up nothing.

A training, meeting, or conversation that attempts to “discuss” a concept may well

interpret that same concept, but this too may run afoul of the Act. To steer clear of

endorsement, Plaintiffs will be forced to self-censor. In enjoining a nearly identical

executive order issued by then-President Trump, a federal court observed that “[t]he

line between teaching or implying (prohibited) and informing (not prohibited) ‘is so

murky, enforcement of the ordinance poses a danger of arbitrary and discriminatory

application.’” Santa Cruz Lesbian & Gay Community Ctr. v. Trump, 508 F. Supp.

3d 521, 544 (N.D. Cal. 2020) (quoting Hunt v. City of L.A., 638 F.3d 703, 712 (9th

Cir. 2011)).

      Because the Act’s inherent vagueness—both as to the prohibited concepts and

as to the “safe harbor” for objective discussion—invites discriminatory enforcement

against those with whom the government disagrees, the district court correctly held

that it violates due process.




                                           45
USCA11 Case: 22-13135       Document: 26      Date Filed: 01/11/2023   Page: 58 of 66



             2.    In the Alternative, the Stop WOKE Act Is Overbroad.

      In the alternative, to the extent that this Court concludes that the Stop WOKE

Act is not a viewpoint restriction or impermissibly vague, the statute is overbroad.

See MidAmerica C2L Inc. v. Siemens Energy Inc., 25 F.4th 1312, 1331 (11th Cir.

2022) (appellate court can affirm on any basis in the record). A law that punishes

“a ‘substantial’ amount of protected free speech, ‘judged in relation to the statute’s

plainly legitimate sweep’” must be invalidated as overbroad. Virginia v. Hicks, 539

U.S. 113, 118-19 (2003) (citation omitted). This broad remedy arises “out of

concern that the threat of enforcement of an overbroad law may deter or ‘chill’

constitutionally protected speech,” as many people “will choose simply to abstain

from protected speech, harming not only themselves but society as a whole, which

is deprived of an uninhibited marketplace of ideas.” Id. at 119 (internal citations

omitted).

      Even assuming that the Stop WOKE Act has some legitimate sweep—such as

Defendants’ alleged interest in preventing discrimination— the law is substantially

overbroad.   The First Amendment requires the State to regulate with greater

precision to achieve its purpose. Much of what the Act prohibits is not actual

conduct, but rather is pure speech—advocacy of concepts with which the State

disagrees. These would include, for example: speech advancing the idea that

because women and people of color face disadvantages or are expected to fill certain


                                         46
USCA11 Case: 22-13135        Document: 26       Date Filed: 01/11/2023   Page: 59 of 66



roles in the workplace, special efforts to counteract these effects must also take into

account the gender or race of the participants; sexual harassment trainings that

inculcate that employees should not engage in certain negative behaviors, and that

what is negative may vary based on the sex of the recipient, see Supp. App. 3; and

honest discussions “endorsing the idea that ‘unconscious bias’ or ‘implicit bias’

exist” and are informed by our own race or gender, Supp. App. 11. As such, the Act

is unconstitutionally overbroad.

      C.     The Act’s Provisions Cannot Be Severed.

      As explained above, every one of the concepts prohibited by the Act is

unconstitutionally vague—consequently, Defendants cannot credibly claim that the

invalid parts of the statute can be severed from the valid provisions. See Br. at 50.

      Second, the district court was correct that the vagueness inherent in subsection

(b) of the Act, which provides that the earlier provisions “may not be construed to

prohibit discussion of the concepts listed as part of a course of training or instruction

. . . in an objective manner without endorsement of the concepts,” renders the whole

statute unconstitutional. While Defendants incorrectly insinuate that severance is

still possible by omitting the phrase “in an objective manner,” the rest of the

provision cannot stand without it.

      As the Florida Supreme Court has explained, a statute is severable only if the

unconstitutional provisions can be separated from the valid provisions, the


                                           47
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 60 of 66



legislative purpose can still be accomplished, the valid and invalid provisions are not

inseparable, and the statute remains complete after the invalid provisions are

stricken. See State v. Catalano, 104 So. 3d 1069, 1081 (Fla. 2012) (refusing to sever

provisions of 25-foot noise ordinance for motor vehicles that would have removed

legislatively intended exemption for commercial and political vehicles, based on

these factors).

      These factors foreclose severance here, as the sponsors of the Stop WOKE

Act spoke at length about the need to permit discussion of the concepts in an

objective manner. Representative Avila emphasized that for “an HR professional in

the workplace, everything that is taught should be from an objective standpoint” and

that the teaching of historical facts “needs to be done in an objective manner,” just

as he himself instructs students in an introduction to government class: “I don’t inject

my personal beliefs on public policy . . . because everything is done from an

objective manner.”19 Likewise, Senator Diaz explained that “objective,” in the

context of the Stop WOKE Act, means “the not-imposing responsibility or guilt to a

person based on the group they belong to for the actions of others.”20 Omitting the

objectivity clause would extend the statute beyond what the Florida Legislature



19
   Fla. H.R., Recording of Proceedings, at 1:10:12-1:11:20 (Feb. 22, 2022),
https://www.myfloridahouse.gov/VideoPlayer.aspx?eventID=7959.
20
    Fla. S., Recording of Proceedings, at 6:13:30-6:13:53 (Mar. 9, 2022),
https://www.myfloridahouse.gov/VideoPlayer.aspx?eventID=8067.
                                          48
USCA11 Case: 22-13135        Document: 26      Date Filed: 01/11/2023   Page: 61 of 66



intended. Because subsection (b) applies to all eight concepts, the district court

correctly concluded that the statute could not be severed.

      D.     The District Court Did Not Abuse Its Discretion in Holding That
             the Remaining Preliminary Injunction Factors Weigh in Plaintiffs’
             Favor.

      Because Plaintiffs are likely to succeed on the merits, “[t]hey also meet the

remaining requirements [for a preliminary injunction] as a necessary legal

consequence.” Otto, 981 F.3d at 870.

      As to the second requirement, irreparable injury is presumed where there is a

First Amendment claim “establishing an imminent likelihood that pure speech will

be chilled or prevented altogether.” Siegel, 234 F.3d at 1178; see also Otto, 981

F.3d at 870 (“continued enforcement” of “an unconstitutional ‘direct penalization’

of protected speech,” “for even minimal periods of time, constitutes a per se

irreparable injury”) (internal citations omitted).

      Here, the Act imminently chills the speech of Plaintiffs. Plaintiffs Honeyfund

and Primo both had to put their planned and ongoing DEI trainings on hold when

the law was enacted. See Supp. App. 6, 10. And the CEOs of both companies have

had great difficulty in trying to decipher what they can and cannot say to their

employees in mandatory meetings. See Supp. App. 4-6, 12. Both also anticipate

harm to their business interests if they cannot foster diversity in their workforce or

attract a diverse clientele because of the Stop WOKE Act’s restrictions. See Supp.


                                          49
USCA11 Case: 22-13135         Document: 26       Date Filed: 01/11/2023   Page: 62 of 66



App. 2, 9-11. Likewise, the speech of Orrin and Collective Concepts, who arguably

advance every one of the prohibited concepts in their DEI trainings, is significantly

chilled. Existing clients have narrowed the scope of their trainings or postponed

them to avoid becoming the next “Disney,” and some have canceled their contracts

entirely. See Supp. App. 15, 19-20. Defendants addressed none of these examples

of irreparable injury below or on appeal.

      As to the third and fourth factors—injury to the opposing party and the public

interest—the balance of equities favors Plaintiffs.         Plaintiffs detail substantial

chilling of their speech that is critical to their businesses and livelihoods. This injury

far outweighs any damage to Defendants. As this Court has recognized, “It is clear

that neither the government nor the public has any legitimate interest in enforcing

an unconstitutional ordinance.” See Otto, 981 F.3d at 870. Defendants’ repetition

of the mantra that the Stop WOKE Act aims to end “invidious racial discrimination

and hostility,” Br. at 52, cannot distract from the fact that it goes far beyond any

legitimate state purpose (which is already protected by existing anti-discrimination

laws) and its effect will be to chill employers seeking to prevent and address

workplace racial discrimination, albeit using concepts that the State finds

objectionable. The State’s only articulated purpose is to protect employees from the

theoretical possibility that these efforts might cause them “psychological distress,”

but when it comes to the free exchange of ideas, protecting an individual from being


                                            50
USCA11 Case: 22-13135        Document: 26        Date Filed: 01/11/2023   Page: 63 of 66



confronted with uncomfortable truths is not a legitimate state purpose. See Johnson,

491 U.S. at 414; Snyder, 562 U.S. at 458. The preliminary injunction factors

therefore all weigh in Plaintiffs’ favor.

                                   CONCLUSION

      Because the district court did not abuse its discretion in preliminarily

enjoining the Stop WOKE Act, the order and injunction should be affirmed.


Dated: January 11, 2023                     Respectfully submitted,

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                                            51
USCA11 Case: 22-13135   Document: 26    Date Filed: 01/11/2023   Page: 64 of 66



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                                   52
USCA11 Case: 22-13135      Document: 26     Date Filed: 01/11/2023   Page: 65 of 66



                       CERTIFICATE OF COMPLIANCE

      On behalf of Plaintiffs-Appellees, I hereby certify pursuant to Federal Rule of

Appellate Procedure 32(g)(1) that the attached motion is proportionally spaced, has

a typeface of 14 points or more, and contains 12,289 words.


                                             /s/ Shalini Goel Agarwal
                                             Shalini Goel Agarwal
USCA11 Case: 22-13135      Document: 26     Date Filed: 01/11/2023   Page: 66 of 66



                          CERTIFICATE OF SERVICE

      I hereby certify that on January 11, 2023, I electronically filed the foregoing

with the Clerk of Court using CM/ECF. I also certify that the foregoing document

is being served this day on all counsel of record via transmission of Notices of

Electronic Filing generated by CM/ECF.


                                             /s/ Shalini Goel Agarwal
                                             Shalini Goel Agarwal
